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                                                                                   FILED
                          UNITED STATES DISTRICT COURT                        JAMES J. VILT, JR. - CLERK
                          WESTERN DISTRICT OF KENTUCKY
                                                                                       NOV 2 1 2023
                                  AT LOUISVILLE
                                                                               U.S. DISTRICT COURT
                                                                              WEST'N . DIST. KENTUCKY
UNITED STATES OF AMERICA                                                               PLAINTIFF


V.                                               CRIMINAL ACTION NO. 3:23-CR-00061-DJH


MARKUS STILL WELL, ET AL.                                                          DEFENDANTS


                            MOTION TO SEAL INDICTMENT

        Comes the United States of America, by counsel, Alicia P. Gomez, Assistant United States

Attorney for the Western District of Kentucky, and moves the Court pursuant to Rule 6(e), Federal

Rules of Criminal Procedure, to order and direct that the indictment returned by the Federal Grand

Jury this November 16, 2023 , charging the above-named defendants with violations of Title 18,

United States Code, Section 2, and Title 21 , United States Code, Sections, 841 (a)(l ),

841(b)(l)(A)(vi), 846, and 853 be kept secret until the last defendant is in custody, or has given

bail, or the warrant for arrest is returned unexecuted, and to further order that until the defendant

is in custody, or has given bail, or the warrant for arrest is returned unexecuted, that no person

disclose the return of the indictment, or any warrant or order issued pursuant thereto except as

necessary for the issuance and execution of warrant for the arrest of the defendant.

                                              Respectfully submitted,

                                              MICHAEL A. BENNETT
                                              United States Attorney
